         Case 1:14-cv-03020-KBF Document 111 Filed 05/08/17 Page 1 of 2



 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK
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                                              :
   DEUTSCHE BANK NATIONAL TRUST               :
   COMPANY, solely in its capacity as Trustee :
   for the MORGAN STANLEY                     :
   STRUCTURED TRUST I 2007-1,                 :
                                              :          No. 14 Civ. 3020 (LTS)
                         Plaintiff,           :
                                              :          ORAL ARGUMENT
             - against -                      :          REQUESTED
                                              :
   MORGAN STANLEY MORTGAGE                    :
   CAPITAL HOLDINGS LLC, as Successor-        :
   by-Merger to MORGAN STANLEY                :
   MORTGAGE CAPITAL INC.,                     :
                                              :
                         Defendant.           :
                                              :
 ----------------------------------- x

         NOTICE OF DEFENDANT’S MOTION FOR SUMMARY JUDGMENT
           PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE 56(c)

       PLEASE TAKE NOTICE that upon the accompanying Defendant’s Memorandum of

Law in Support of its Motion for Summary Judgment Pursuant to Federal Rule of Civil

Procedure 56(c), Defendant’s Statement of Undisputed Material Facts Pursuant to Local Rule

56.1, the annexed Declaration of Brian S. Weinstein and the exhibits thereto, and all the

pleadings and proceedings herein, Defendant Morgan Stanley Mortgage Capital Holdings LLC

(“Morgan Stanley”), by and through its undersigned counsel, hereby moves this Court before the

Honorable Laura Taylor Swain, United States District Judge for the Southern District of New

York, at the United States Courthouse located at 500 Pearl Street, Courtroom 12D, New York,

New York, 10007, for an order, pursuant to Federal Rules of Civil Procedure 56, granting

summary judgment in favor of Morgan Stanley and against Plaintiff on all claims asserted
         Case 1:14-cv-03020-KBF Document 111 Filed 05/08/17 Page 2 of 2



against Morgan Stanley in the Complaint, and dismissing Plaintiff’s Complaint. Defendant

respectfully requests oral argument on this motion.

        Pursuant to Rule 2.b of the Court’s Individual Practices, prior to making this motion,

counsel for defendant made best efforts to resolve informally the matters raised in this motion by

discussing them with plaintiff’s counsel telephonically and by electronic mail.



      Dated:   New York, New York
               May 8, 2017                           DAVIS POLK & WARDWELL LLP


                                                     By:    /s/ Brian S. Weinstein
                                                           Brian S. Weinstein
                                                           Matthew Cormack
                                                           Craig Cagney

                                                     450 Lexington Avenue
                                                     New York, New York 10017
                                                     (212) 450-4000
                                                     brian.weinstein@davispolk.com
                                                     matthew.cormack@davispolk.com
                                                     craig.cagney@davispolk.com


                                                     Attorneys for Defendant

To:

Steven F. Molo
Justin V. Shur
Lauren M. Weinstein
MoloLamken LLP
430 Park Avenue
New York, NY 10022

Attorneys for Plaintiff




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